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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   PAT ECK and SCOTT ECK,                           )
               Plaintiffs,                          )
                                                    )
           v.                                       )
                                                    ) Case No.: 5:13-CV-2127-ER
                                                    )
   NCO FINANCIAL SYSTEMS, INC.
                                                    )
             Defendant                              )
                                                    )
                                                    )                                          F\LED
                                  STIPULATION TO DISMISS
                                                                                               AUG '2 1 20'3
                                                                                          MIC·· KUNZ, C\etk$
   TO THE CLERK:                                                                          By .:s..l.'-. oep. ete

           Pursuant to Rule 41(a)(1)(A)(ii), counsel for all parties hereto stipulate to the

   dismissal with prejudice and without cost to either party.



   Is/ Ross S. Enders                               Is/ Craig Thor Kimmel
    Ross S. Enders, Esquire                          Craig Thor Kimmel, Esquire
   Attorney ID # 89840                               Attorney ID # 57100
   Sessions, Fishman, Nathan & Israel, LLC           Kimmel & Silverman, P.C.
    200 Route 31 North, Suite 203                    30 E. Butler Pike
    Flemington, NJ 08822                             Ambler, PA 19002
   Phone: (908) 751-5941                             Phone: (215) 540-8888
    Fax: (908) 751-5944                              Fax: (877) 788-2864
    Email: renders@sessions-law.biz                  Email: kimmel@creditlaw.com
   Attorney for Defendant                            Attorney for the Plaintiff

   Date: August 19, 2013                            Date: August 19, 2013

                                          BY THE COURT:

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